                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,

                          Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,           Civil Action No. 3:17-cv-00072-NKM
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSLEY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                          Defendants.



        PLAINTIFFS’ OPPOSITION TO MOTION TO WITHDRAW AS COUNSEL FOR
                        DEFENDANT VANGUARD AMERICA




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         Plaintiffs respectfully submit this memorandum in opposition to Elmer Woodard’s and

  James Kolenich’s (“Defense Counsel”) Motion to Withdraw as Counsel for Defendant Vanguard

  America (“VA”) (ECF 459, 460, the “Motion”).

         Defense Counsel have moved to withdraw from representing VA on grounds that

  “Vanguard does not appear to have complied with existing Court orders regarding electronically

  stored information nor has it provided undersigned Attorneys with information that that would

  show cause why they should be excused from same or even provided additional time to comply.”

  ECF 460 at ¶ 4. Defense Counsel further state that “it is not possible for undersigned Attorneys

  to provide any useful professional services to Vanguard, nor are we willing to do so.” Id. at ¶ 5.

         As this Court has recognized, however, an organization that is a party to a lawsuit “cannot

  appear pro se as an artificial entity in any federal court litigation.” Tweedy v. RCAM Title Loans,

  LLC, 611 F. Supp. 2d 603, 605 n.2 (W.D. Va. 2009). Rather, an organization can “appear in the

  federal courts only through licensed counsel.” Rowland v. Calif. Men’s Colony, 506 U.S. 194,

  202–03 (1993). See Order dated Feb. 22, 2019 (ECF 427). This Court has previously stricken

  filings submitted by organizations that were not represented by counsel. See ECF 166, 275.

  Granting Defense Counsel’s motion would leave VA, an artificial entity, unrepresented by counsel,

  with no reassurance that VA has secured new counsel or even any indication that it intends to do

  so in a timely manner.

         As a result, permitting Defense Counsel to withdraw at this time would only cause

  additional delay and further impair Plaintiffs’ ability to prosecute their case. For this reason,

  Plaintiffs respectfully request that the Court deny the Motion.




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  Dated: April 17, 2019                         Respectfully submitted,

                                                /s/
  Roberta A. Kaplan (pro hac vice)              Robert T. Cahill (VSB 38562)
  Julie E. Fink (pro hac vice)                  COOLEY LLP
  Gabrielle E. Tenzer (pro hac vice)            11951 Freedom Drive, 14th Floor
  Michael L. Bloch (pro hac vice)               Reston, VA 20190-5656
  Christopher B. Greene (pro hac vice)          Telephone: (703) 456-8000
  KAPLAN HECKER & FINK, LLP                     Fax: (703) 456-8100
  350 Fifth Avenue, Suite 7110                  rcahill@cooley.com
  New York, NY 10118
  Telephone: (212) 763-0883
  rkaplan@kaplanhecker.com
  jfink@kaplanhecker.com
  gtenzer@kaplanhecker.com
  mbloch@kaplanhecker.com
  cgreene@kaplanhecker.com




  Yotam Barkai (pro hac vice)                   Karen L. Dunn (pro hac vice)
  BOIES SCHILLER FLEXNER LLP                    William A. Isaacson (pro hac vice)
  55 Hudson Yards                               Jessica Phillips (pro hac vice)
  New York, NY 10001                            BOIES SCHILLER FLEXNER LLP
  Telephone: (212) 446-2300                     1401 New York Ave, NW
  Fax: (212) 446-2350                           Washington, DC 20005
  ybarkai@bsfllp.com                            Telephone: (202) 237-2727
                                                Fax: (202) 237-6131
                                                kdunn@bsfllp.com
                                                wisaacson@bsfllp.com
                                                jphillips@bsfllp.com

  Alan Levine (pro hac vice)                    David E. Mills (pro hac vice)
  COOLEY LLP                                    COOLEY LLP
  1114 Avenue of the Americas, 46th Floor       1299 Pennsylvania Avenue, NW
  New York, NY 10036                            Suite 700
  Telephone: (212) 479-6260                     Washington, DC 20004
  Fax: (212) 479-6275                           Telephone: (202) 842-7800
  alevine@cooley.com                            Fax: (202) 842-7899
                                                dmills@cooley.com

                                                Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 17, 2019, I filed the foregoing with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

   Justin Saunders Gravatt                          Lisa M. Lorish
   David L. Hauck                                   Federal Public Defenders Office
   David L. Campbell                                Western District of Virginia - Charlottesville
   Duane, Hauck, Davis & Gravatt, P.C.              401 E Market Street, Suite 106
   100 West Franklin Street, Suite 100              Charlottesville, VA 22902
   Richmond, VA 23220                               lisa_lorish@fd.org
   jgravatt@dhdglaw.com
   dhauck@dhdglaw.com                               Fifth Amendment Counsel for Defendant
   dcampbell@dhdglaw.com                            James A. Fields, Jr.

   Counsel for Defendant James A. Fields, Jr.

   Bryan Jones                                      Elmer Woodard
   106 W. South St., Suite 211                      5661 US Hwy 29
   Charlottesville, VA 22902                        Blairs, VA 24527
   bryan@bjoneslegal.com                            isuecrooks@comcast.net

   Counsel for Defendants Michael Hill,             James E. Kolenich
   Michael Tubbs, and League of the South           Kolenich Law Office
                                                    9435 Waterstone Blvd. #140
                                                    Cincinnati, OH 45249
   John A. DiNucci                                  jek318@gmail.com
   Law Office of John A. DiNucci
   8180 Greensboro Drive, Suite 1150                Counsel for Defendants Matthew Parrott,
   McLean, VA 22102                                 Robert Ray, Traditionalist Worker Party,
   dinuccilaw@outlook.com                           Jason Kessler, Vanguard America, Nathan
                                                    Damigo, Identity Europa, Inc. (Identity
   Counsel for Defendant Richard Spencer            Evropa), and Christopher Cantwell

   William E. Rebrook, IV
   The ReBrook Law Office
   6013 Clerkenwell Court
   Burke, Virginia 22015
   edward@ReBrookLaw.com

   Counsel for Jeff Schoep, Nationalist Front,
   and National Socialist Movement




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          I further hereby certify that on April 17, 2019, I also served the following non-ECF
  participants, via U.S. mail, First Class and postage prepaid, addressed as follows:


   Loyal White Knights of the Ku Klux Klan          Moonbase Holdings, LLC
   a/k/a : Loyal White Knights Church of            c/o Andrew Anglin
   the Invisible Empire, Inc.                       P.O. Box 208
   c/o Chris and Amanda Barker                      Worthington, OH 43085
   2634 U.S. HWY 158 E
   Yanceyville, NC 27379


   Andrew Anglin                                    East Coast Knights of the Ku Klux Klan
   P.O. Box 208                                     a/k/a East Coast Knights of the
   Worthington, OH 43085                            True Invisible Empire
                                                    26 South Pine St.
                                                    Red Lion, PA 17356

   Fraternal Order of the Alt-Knights               Augustus Sol Invictus
   c/o Kyle Chapman                                 9823 4th Avenue
   52 Lycett Circle                                 Orlando, FL 32824
   Daly City, CA 94015




          I further hereby certify that on April 17, 2019, I also served the following non-ECF
   participants, via electronic mail, as follows:


   Elliot Kline                                     Matthew Heimbach
   eli.f.mosley@gmail.com                           matthew.w.heimbach@gmail.com




                                                       /s/
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP

                                                       Counsel for Plaintiffs




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